me; 00179-CJB-SS Document.983-3 Filed 01/12/11 Page 1 of

* INRE: OIL SPILL by “Deepwater Horizon”

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ose aE atized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc, 982
(Coples of said Order having also been filed In Civil Actions No. 10-8888 and 10-2771}

JUDGE CARL BARBIER

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[Rec. Doc, 879] fe
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“85 Bundie")
filed in MDL No. 2178 {10 md 2178).

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If yor, Claknant identification No.:

Claim filed with @P? YES oO NO 0 Claim Filed with GGOF?:

tryes. BP Claim Na.:

Type (Please check all that apply):

Damage or destruction to reel or personal praparty Fear of Future Injury andor Medical Monitoring
Gamings/Prott Loss Loss of Subsislence une of Natural Resources
Personal Injury/Dealh Removal ardor clasr-up costs

. Other,

1 This form should be filed with the U.5. District Court for the Esstarn District of Loulsiana In New Orleans, Loulslane in Civil Action No. 10-2888. While this Diract
Filing Short Form Ic to be Tiiad In CA No, 10-8888, by prior ordar of the Court, (Rec. Doe. 246, Ca. No, 10-2771 and Rec, Doc. 982 In MDL 2179}, the filing of this form
in CA. NO. 30-8888 shalt be deemed to be rimultaneousty Aled In GA, 10-2771 and MDL 2179, Plaintiff Uatson Counsel, after baing notified electronically by the Gerk
of Court of the filing of this Short Form, shall promptly serva this form through the Lents Nexis service system on Defensa Liaixan.

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The Hing of this Direct Fling Short Form shall alzo serve in leu of the requirement of e Piaintit ta fae a Plainti? Profife Porm.
Case 2:10-cv-08888-CJB-JCW Document 85359 Filed 04/20/11 Page 2 of 3

Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 2 of 3

‘Brief Description:

We are, unalole. to cot re

4. For aarnings/profit loss, proparty damage and loss of subsistence use claims, describe the nature of
involving real estate/property, Includa the property location, type of property {reskientlalfcommercial), and wheather physical
damage occurred, For claims relating to fishing af any type, Include the type and location of fishing grounda at issue.

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3. Agr post-explosion claims ciated to
employer. and where you ware working.

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“9. For pertanal injury daims, describe the injury. how and when Kt was suctsined, and identify al heptth care providers a

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Case 2:10-md-02179-CJ8-SS Document 963-3 Filed 01/12/11 Page 3 of 3

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Please check the box(es) below that y
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you and your clalms:
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Sf Commercial fisherman, shrimper, crabber, or oysterman, or the owner and oparator of a business invaling fishing, shrimping.
crabbing or cysiering,

Seafood procateor, distributor, ratall and seafood martini, of Testaurant owner and operator, or an employee thereof.

Recrastional businerce owner, oparator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who eam their living through Ihe use of tne Guif of Mexico.

Commercial business, business owner, operator or worker, Inciuding commercist divers, offanere ollfald sanica, repair and
supply. fast estate agents, and supply companlas, or an gmployes Ihareof.

Recreational aport fisnarmen, recreational diver, beachgoer, or racreational Dealer.
Plant and dock worker, including commercial seafood plant Worker. longshoreman, oF ferry operator,

Owner, lessor, or lessee of real property allegad to be damaged, harmed or impacted, physically or economicalty, including
leseaes of oyster beds.
flotel owner and operator, vacation rental owner and agent, or of Mose who war inet ving trom the tourism industry.

Bank, financial (netitution, or retell business that suffered losses 26 a reeuit of the epli,

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ee snd marine Fe pra

Person who utlizes natural regouroee for: eubelctenca,
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Boat captain or crew involved In the Vessels af Opportunity program.
Worker involved in decontaminating vessels thal came into contact with oll and/or chemical dispereants,

Vessel captain of crew who waa not Involved in tha Vassala of Opportunity program but who ware exposed to harmful chamicale,
odors and emiasions during post-explogion clesr-up activities.

Clean-up worker a7 beach persanne! involved in claan-up activities along shorelines and intercosetal and intertidal zones.

Resident whe lives or works in clone proximily lo coastal wetert.

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Claimant ¢

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Print Name

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: The filing of this Direct Filing Short Form shall alvo sorve in Hau of the requirement of # Plaintiff to file # Plainti! Profile Form.
